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           %,AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case                                                                         FEB 1 3 2017
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                                                                                                                              SOU'I'Hb]      1HICI Of- CALIFORNIA
                                                                                                                              BY                                    DEPUTY
                                                    United States District Court
                                                        SOUTHERN DISTRICT OF CALIFORNIA
                          UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                              V.                                          (For Offenses Committed On or After November 1, 1987)

                              CASEY CARTWRIGHT [3]                                        Case Number: 11CR1951-BTM
                                                                                          LYNN BALL
                                                                                          Defendant’s Attorney
          REGISTRATION NO. 27622298
          |Xl Direct Motion to District Court Pursuant to 28 U.S.C. § 2255

          THE DEFENDANT:
          lXl pleaded guilty to count(s) 1 OF THE INDICTMENT
          I I was found guilty on count(s)____________________________________________________________
                after a plea of not guilty.
                Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                   Count
          Title & Section                          Nature of Offense                                                                             Number(s)
     21 USC 846, 841(a)(1)                  CONSPIRACY TO DISTRIBUTE HEROIN                                                                         1




             The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
      I 1 The defendant has been found not guilty on count(s)_________
      1 | Count(s)                                                                  is □ are         dismissed on the motion of the United States.
      0 Assessment: $100 to be paid at the rate of $25.00 per quarter through the Inmate Financial Responsibility Program.



       |xl Fine waived                                   | 1 Forfeiture pursuant to order filed                                     , incorporated herein.
            IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                    02/13/2017 NUNC PRO TUNC TO 05/04/2016
                                                                                   Date of Imposition of Sentence



                                                                                   HON. BAIjfllY TED MOSKOWITZ
                                                                                   UNITED STATES DISTRICT JUDGE

                                                                                                                                                   11CR1951-BTM
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     AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
     __________ Sheet 2 — Imprisonment_________________
                                                                                                      Judgment — Page   2     of    4
      DEFENDANT: CASEY CARTWRIGHT [3]
      CASE NUMBER: HCR1951-BTM

                                                                IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
              SEVENTY-EIGHT (78) MONTHS.


                                                                                                     BARRYT
           □ Sentence imposed pursuant to Title 8 USC Section 1326(b).                               UNITED STATES DISTRICT JUDGE
           IXl The court makes the following recommendations to the Bureau of Prisons:
               The court STRONGLY recommends that the defendant participate in the 500 hour RDAP program. That the defendant serve
               his sentence at Taft.



           □ The defendant is remanded to the custody of the United States Marshal.

           □ The defendant shall surrender to the United States Marshal for this district:

                 □ at                                  □a.m.      □ p.m.       on .
                    as notified by the United States Marshal.

           □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               I I before
               | 1 as notified by the United States Marshal.
               I~1 as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
      I have executed this judgment as follows:

              Defendant delivered on                                                     to

      at                                                , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL

                                                                           By
                                                                                               DEPUTY UNITED STATES MARSHAL




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             A0 245B(CASD) (Rev. 8/11) Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                                            Judgment—Page       3      of        4
             DEFENDANT: CASEY CARTWRIGHT [3]
             CASE NUMBER: 11CR1951-BTM                                                                             □
                                                                       SUPERVISED RELEASE
             Upon release from imprisonment, the defendant shall be on supervised release for a term of:
             THREE (3) YEARS.


                      The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
             the custody of the Bureau of Prisons.
             The defendant shall not commit another federal, state or local crime.
             For offenses committed on or after September 13, 1994:
             The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
             substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
             thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
             the term of supervision, unless otherwise ordered by court.
         | |        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
                    future substance abuse. (Check, if applicable.)
         IXl        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         |^|        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
                    Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
         I I        The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901 , et seq.) as directed
                    by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
                    was convicted of a qualifying offense. (Check if applicable.)
         1     I    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

                       If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
             or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
             forth in this judgment.
                      The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
             any special conditions imposed.

                                                     STANDARD CONDITIONS OF SUPERVISION
               1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
              2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
               3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
              4)     the defendant shall support his or her dependents and meet other family responsibilities;
               5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                     acceptable reasons;
               6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
               7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
               8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
               9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                     a felony, unless granted permission to do so by the probation officer;
              10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                     contraband observed in plain view of the probation officer;
              11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
              12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
                     permission of the court; and
              13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
                     record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                     defendant’s compliance with such notification requirement.

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                   Sheet 4 — Special Conditions
                                                                                                         Judgment—Page     4     of      4
        DEFENDANT: CASEY CARTWRIGHT [3]
        CASE NUMBER: 11CR1951-BTM                                                                   □


                                             SPECIAL CONDITIONS OF SUPERVISION
|X| Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
IXl Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
I I Not transport, harbor, or assist undocumented aliens.
I 1 Not associate with undocumented aliens or alien smugglers.
I 1 Not reenter the United States illegally.
IXl Not enter the Republic of Mexico without written permission of the Court or probation officer.
IXl Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
IXl Not possess any narcotic drug or controlled substance without a lawful medical prescription, under Federal Law.
|Xl Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
EH Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


I I Reside in a Sober Living Facility for One (1) year after release from the RRC.

I I Abstain from all use of Alcohol.
I I Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
0 Seek and maintain full time employment and/or schooling or a combination of both.
I I Resolve all outstanding warrants within                days.
I I Complete            hours of community service in a program approved by the probation officer within

□
I I If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




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